 Case 1:18-cr-00083-TSE Document 29-2 Filed 03/26/18 Page 1 of 1 PageID# 356




                                 CERTIFICATE OF SERVICE

I hereby certify that on the 26th day of March, 2018, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

And I hereby certify that I will mail the document by U.S. mail to the following non-filing user:

Kevin Downing
Law Office of Kevin Downing
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
kevindowning@kdowninglaw.com


                                                      _/s/__Greg D. Andres_______________
                                                      Greg D. Andres
                                                      Special Assistant United States Attorney
                                                      Senior Assistant Special Counsel
                                                      U.S. Department of Justice
                                                      Special Counsel’s Office
                                                      950 Pennsylvania Avenue N.W.
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 616-0800
                                                      Fax: None
                                                      E-mail: GDA@usdoj.gov

                                                      Attorney for the United States of America
